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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

JACKIE HALL,                                      )
                                                  )
             Plaintiff,                           )
                                                  )
        v.                                        )          Case No. 4:23 CV 1329 CDP
                                                  )
MARTIN O’MALLEY,1                                 )
Commissioner of Social Security,                  )
                                                  )
             Defendant.                           )

                  MEMORADUM AND ORDER TO SHOW CAUSE

        This matter is before the Court on plaintiff’s pro se complaint seeking

judicial review of the Commissioner’s decision denying his application for

disability insurance benefits under Title II of the Social Security Act. On October

26, 2023, the Court entered a case management order in this case directing plaintiff

to serve and file a brief in support of his application within thirty (30) days after

the Commissioner filed the certified administrative transcript. ECF 6. The

Commissioner filed the transcript on December 6, 2023. ECF 7. To date, plaintiff

has not filed his brief in support of the complaint, and his time for doing so has


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 Martin O’Malley became the Commissioner of Social Security on December 20, 2023.
Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Martin O’Malley should be
substituted for Kilolo Kijakazi as the defendant in this suit. No further action need be taken to
continue this suit by reason of the last sentence of section 205(g) of the Social Security Act, 42
U.S.C. § 405(g).
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expired. As plaintiff has not requested appointment of counsel and is representing

himself in this matter, it is his responsibility to meet the deadlines set out in the

case management order.

      Accordingly,

      IT IS HEREBY ORDERED that plaintiff shall show cause in writing

within thirty (30) days of the date of this Memorandum and Order why the

complaint should not be dismissed without prejudice for failure to comply with the

provisions of the case management order. Plaintiff can satisfy this Show Cause

Order by filing his brief in support of the complaint within thirty (30) days of

the date of this Memorandum and Order to Show Cause. Failure to timely

respond to this Memorandum and Order to Show Cause will result in the

dismissal of the complaint without prejudice without further notice by the

Court.




                                            CATHERINE D. PERRY
                                            UNITED STATES DISTRICT JUDGE

Dated this 13th day of August, 2024.




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